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                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                     JACKSONVILLE DIVISION

IN RE:

GENIE INVESTMENTS NV, INC.
                                                                           Case No.: 3:24-bk-00496-BAJ
                    Debtor
___________________________________/

                                NOTICE OF PRELIMINARY HEARING

         NOTICE IS GIVEN THAT:

         1. A preliminary hearing in this case will be held on before Honorable Jason A. Burgess on

             August 8, 2024 at 9:00 a.m. Jacksonville, FL - Courtroom 4A, 4th Floor, Bryan Simpson

             United States Courthouse, 300 N. Hogan Street, on the following matter:

  Re: Objection to Claim(s). Claim 4 of Belle Maison Realty, LLC. Contains negative notice.
                                          Doc [135]

         2. All parties may attend the hearing in person. Parties are directed to consult the Procedures
            Governing Court Appearances regarding the Court’s policies and procedures for attendance at
            hearings by Zoom or telephone available at (Procedures Governing Court Appearances –
            Jacksonville). If the Court permits appearances by Zoom, the Court will enter a separate Order
            Establishing Procedures for Video Hearing shortly before the hearing. Parties permitted to
            appear by telephone must arrange a telephonic appearance through Court Call (866-582-6878)
            by 5:00 p.m. the business day preceding the hearing.

         3. The Court may continue this matter upon announcement made in open court without further
            notice.

         4. Any party opposing the relief sought at this hearing must appear at the hearing or any objections
            or defenses may be deemed waived.

         Dated: July 17, 2024
                                                          Law Offices of Mickler & Mickler, LLP

                                                          By:_/s/ Bryan K. Mickler________
                                                                Bryan K. Mickler
                                                          Florida Bar No. 091790
                                                          Attorney for the Debtor
                                                          5452 Arlington Expressway
                                                          Jacksonville, FL 32211
                                                          (904) 725-0822 / (904) 725-0855 FAX
                                                          bkmickler@planlaw.com
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                               CERTIFICATE OF SERVICE

       I DO HEREBY CERTIFY that a copy of the foregoing was furnished to United States

Trustee and to Belle Maison Realty, LLC, c/o Lea Muse, Owner/Managing Agent, 1133 E. 83rd Street

171, Chicago, IL 60619; by either US Mail, postage prepaid and/or CM/ECF electronic filing; this

17th day of July, 2024.




                                               By:___/s/ Bryan K. Mickler____
                                                  BRYAN K. MICKLER
